      Case 3:21-cv-00168 Document 57 Filed on 09/30/21 in TXSD Page 1 of 1
                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                                                                       September 30, 2021
                       UNITED STATES DISTRICT COURT
                                                                        Nathan Ochsner, Clerk
                        SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION

BRAD COE, et al,                         §
                                         §
         Plaintiffs,                     §
VS.                                      § CIVIL ACTION NO. 3:21-CV-168
                                         §
JOSEPH R BIDEN JR, et al,                §
                                         §
         Defendants.                     §

                                    ORDER

       Before the court is the plaintiffs’ motion to join additional plaintiffs.

Dkt. 43. The motion is granted. Accordingly, Galveston County, Real

County, and Real County Sheriff Nathan Johnson will be added to the

plaintiffs in this matter. Additionally, the plaintiffs have the court’s leave to

amend their complaint.




Signed on Galveston Island on the 30th day of September, 2021.



                                         ________________________
                                           JEFFREY VINCENT BROWN
                                        UNITED STATES DISTRICT JUDGE
